                       IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,

                               Plaintiff,

       v.                                           Case No. 12-000182-01-CR-W-BP

CHARLES F. MILLER, JR.,

                               Defendant.

                                      PLEA AGREEMENT

       Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the parties described

below have entered into the following plea agreement:

       1. The Parties. The parties to this agreement are the United States Attorney=s Office for

the Western District of Missouri (otherwise referred to as Athe Government@ or Athe United

States@), represented by Tammy Dickinson, United States Attorney, and Charles E. Ambrose, Jr.,

Assistant United States Attorney, and the defendant, CHARLES F. MILLER, JR. (Athe

defendant@), represented by Stephen C. Moss.

       The defendant understands and agrees that this plea agreement is only between him and the

United States Attorney for the Western District of Missouri, and that it does not bind any other

federal, state, or local prosecution authority or any other government agency, unless otherwise

specified in this agreement.

       2. Defendant=s Guilty Plea. The defendant agrees to and hereby does plead guilty to the

single-count Indictment returned on June 14, 2012, charging the defendant with a violation of 21

U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846, that is, an attempt to possess, with intent to distribute,

more than fifty (50) grams (actual) of methamphetamine. By entering into this plea agreement,




            Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 1 of 15
the defendant admits that he knowingly committed this offense, and is in fact guilty of this offense.

       3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offenses to which the defendant is pleading guilty are as follows:

        On May 29, 2012, a confidential witness (CW) contacted the Linn County, Kansas
Sheriff's Department after he was introduced to an unknown white male, known only to the CW as
"Charlie Miller." Miller told the CW that he wanted to do something to a methamphetamine
dealer (the "intended victim") in Kansas City. The CW was not clear at that point what Charlie
Miller wanted to do, which was why he contacted the Linn County Sheriff's Department. The CW
knew that Charlie Miller did want to take three to four ounces of methamphetamine and cash from
the intended victim. Later the same day, Deputies from the Linn County Sheriff's Department
sent the CW back to meet with Charlie Miller to consensually record a conversation about what
Miller was planning to do to the intended victim. A review of the recording corroborates the CW's
reporting that Miller wanted to steal three to four ounces of methamphetamine (which Miller
described as "fire-ass shit", meaning high-quality methamphetamine); cash; and any other drugs in
the intended victim's possession.

        On June 7, 2012, at 5:14 p.m., the CW telephonically contacted Miller. This call was
recorded in the presence of law enforcement. The CW told Miller that he was almost there, and
Miller asked if the CW remembered how to get there (a storage unit on I-70 in Kansas City where
Miller was waiting). The CW reminded the CW that it was Exit 18 [off of Interstate 70], and to call
Miller when he got there so that Miller could open the storage facility's gate. The CW was
equipped with an audio transmitter and a body recorder. The vehicle that the CW was driving was
equipped to record both audio and video of the interior of the vehicle. The CW's vehicle was also
searched, noting that the only items of evidentiary value were a dark shirt and pants that the CW
brought with him for a "disguise." Photographs of that clothing were taken prior to the CW
departing the meeting location. No other items of evidentiary value were located inside the
vehicle. The CW was also searched, noting that there were no items of evidentiary value in the
CW's possession. The CW then departed for the storage facility, and was observed by law
enforcement officers conducting physical surveillance continuously until Miller was arrested, as
described further below.

        The CW arrived at the storage facility at 6:19 p.m., and was overheard making an outgoing
phone call, saying that he was there. Officers conducting surveillance then observed a white male
with no shirt open the gate to the storage facility and then get in the passenger side of the CW's
vehicle, which was then observed driving toward the storage units. While the CW and Miller were
inside the storage unit, officers overheard portions of the conversation between the CW and Miller.
Miller told the CW that they would look for the intended victim at his house, and Miller described
a specific area of the Kansas City, Missouri, Metropolitan Area where the intended victim's house
was located. Based upon that information, officers loaded the intended victim's name into the
CLEAR subscription database which, among other things, provides historical addresses associated
with people. The first address that was associated with the intended victim matched the location
description that Miller had described.



                                      2
          Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 2 of 15
        At 6:43 p.m., officers observed the CW's vehicle departing the storage facility and
traveling westbound on Interstate 70. The CW and Miller could be heard inside the vehicle,
continuing their conversation. Miller gave directions to the CW, telling him where to drive. The
vehicle was observed travelling directly to the intended victim's house that was identified in the
search of the CLEAR database. Approximately one minute prior to arriving at that house, Miller
was overheard saying something about a drive-by of the house, indicating to the officers
conducting surveillance that Miller wanted to see if the intended victim's vehicle was located at the
residence. After passing the residence, officers overheard Miller state that the intended victim was
not there.

        The CW's vehicle was then observed traveling to the Harrah's casino, where the vehicle
traveled slowly through all the levels of the parking garage, and then parked in a spot on the first
level of the parking garage, where it remained for approximately three minutes. The vehicle then
continued to the Red Roof Inn, located at 3636 Northeast Randolph Road, Kansas City, Missouri,
where it went slowly through the parking lot. The vehicle then drove to the Crossland Inn, 4301 N.
Corrington Ave., Kansas City, Missouri, where it drove the parking lot slowly. The vehicle then
proceeded to the Ameristar Casino, where it slowly drove through the parking garage. The Red
Roof Inn and the Crossland had been specifically mentioned by Miller previously as places where
the intended victim might be found.

         As the vehicle was leaving the Ameristar Casino property, officers overheard Miller say
something about going back toward the intended victim's house. As the vehicle neared the
intended victim's house (taking the same route as had been taken earlier), a traffic stop was
conducted, and Miller was arrested without incident at 7:58 p.m. At the time of his arrest, Miller
had a folding Gerber pocket knife in his pocket. Also located inside the vehicle was a torn black
t-shirt in the front passenger side door compartment; a torn black t-shirt with two holes in it; two
baseball caps; and a Blackberry Bold cellular telephone. The black T- shirt and homemade masks
had not been present when the vehicle was searched by law enforcement prior to sending the CW
to meet Miller.

        Subsequent to the arrest, the CW was debriefed about what events had just taken place. The
CW advised that when he arrived at the storage unit, Miller took an old black t-shirt and started
tearing it up. Miller handed his knife to the CW so that the CW could work on his own mask.
Miller finished his first. Miller told the CW that Miller they would not need gloves. After they
finished making their masks, Miller put on a dark blue shirt and his hernia belt. Miller said he was
ready to go, and locked up the storage unit. Miller directed the CW to drive to the intended victim's
house, and after they had passed the house, Miller told the CW that the intended victim was not
home. Miller elaborated that there were two cars there, one of which he was familiar with and the
other he was not. Miller then directed the CW to Harrah's Casino, where they drove the parking lot
up and down. The CW advised that Miller was ready to rob the intended victim, and that if Miller
found the intended victim's vehicle, that they would wait all night if they had to for the intended
victim to come back to it. While at Harrah's, they stopped and parked for a moment. Miller told the
CW that the intended victim probably would not have a pound of methamphetamine on him any
longer, and that he would probably only have about four ounces of methamphetamine and some
marijuana, in addition to a .38 pistol and possibly a second pistol. Miller then directed the CW to



                                      3
          Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 3 of 15
go to the Red Roof Inn, followed by the Crossland, followed by the Ameristar Casino, all in an
attempt to locate the intended victim. As they were leaving the Ameristar Casino, Miller told the
CW they would go back to the intended victim's house again one more time, and that they could
stop at a McDonalds to get some cheeseburgers while they waited on the intended victim to come
home. The CW also recalled that at some point while they were driving around, Miller told the CW
that if this worked out, he knew someone else who was selling about a pound of methamphetamine
a day. When Miller realized they were being pulled over by the police, he became silent and did
not say another word.

        Miller was interviewed at the Kansas City, Missouri Police Department by SA Williams
and Task Force Officer Dion Dundovich, between 10:07 p.m. and 11:15 p.m. Miller was
provided with the Kansas City, Missouri Police Department Miranda Waiver form, which he read
aloud and signed at 10:07 p.m. SA Williams also verbally asked Miller if he understood what he
read, to which he said yes. Miller identified himself as Charles F. Miller, Jr., born February 12,
1959, social security account number XXX-XX-XXXX. Miller stated that he had not used
methamphetamine for approximately one month, except that he had snorted one "line" the
previous night. Miller stated that he was looking for the intended victim (he identified the intended
victim by name) because the intended victim owed Miller $500 and that the intended victim had
also caused Miller to have relationship problems with Miller's girlfriend. Miller said that he
wanted to find the intended victim and just talk to him to get the money back. Miller thought that
the intended victim would be intimidated and just give Miller the money. If the intended victim did
not have the money to provide to Miller, Miller would try to take something else in its place. When
asked what he thought the intended victim would have that Miller could take, Miller replied with
the question, "What do dealers have?" Miller then continued by saying that he thought the intended
victim would have a nice laptop computer, along with four, five, or six ounces of
methamphetamine. Miller said he had previously purchased a half-gram of methamphetamine
from the intended victim, as well as two 8-balls (approximately seven grams total), which he
purchased on one occasion in the Spring of 2011. Miller said he had kept one of the 8-balls (3.5
grams) for himself, and gave the other one to someone else for no profit. When asked about the
torn black t-shirts that were found in the car that looked like masks, Miller stated that he wouldn't
need the mask, but the person who was with him was nervous.


       4. Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea

agreement will be used for the purpose of determining defendant=s guilt and advisory sentencing

range under the United States Sentencing Guidelines (AU.S.S.G.@), including the calculation of the

defendant=s offense level in accordance with U.S.S.G. ' 1B1.3(a)(2). The defendant

acknowledges, understands and agrees that the conduct charged in any dismissed counts of the




                                      4
          Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 4 of 15
indictment as well as all other uncharged related criminal activity may be considered as Arelevant

conduct@ pursuant to U.S.S.G. ' 1B1.3(a)(2) in calculating the offense level for the charges to

which defendant is pleading guilty.

       5. Statutory Penalties. The defendant understands that upon pleading guilty to the

Indictment, the maximum penalty the Court may impose is not less than ten (10) years

imprisonment, not more than life imprisonment and not more than a $10,000,000.00 fine; and that

the Court shall impose not more than five (5) years of supervised release. The defendant further

understands that this offense is a Class A felony.

       The defendant also understands that for each count of conviction the Court shall impose a

$100 mandatory special assessment which must be paid in full prior to sentencing in this case.

Failure to timely pay said assessment can result in the Government seeking a continuance of the

sentencing until it is paid OR, in the alternative, the Government can consider the failure to timely

pay it as a violation of this plea agreement and seek to have this agreement voided.

       6. Sentencing Procedures. The defendant acknowledges, understands and agrees to the

following:

              a. in determining the appropriate sentence, the Court will consult and
       consider the United States Sentencing Guidelines promulgated by the United States
       Sentencing Commission; these Guidelines, however, are advisory in nature, and the
       Court may impose a sentence either less than or greater than the defendant=s
       applicable Guidelines range, unless the sentence imposed is Aunreasonable@;

              b. the Court will determine the defendant=s applicable Sentencing
       Guidelines range at the time of sentencing;

              c. in addition to a sentence of imprisonment, the Court shall impose a term
       of supervised release of not more than five (5) years;

              d. if the defendant violates a condition of supervised release, the Court
       may revoke that supervised release and impose an additional period of
       imprisonment without credit for time previously spent on supervised release. In



                                      5
          Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 5 of 15
       addition to a new term of imprisonment, the Court also may impose a new period of
       supervised release;

              e. the Court may impose any sentence authorized by law, including a
       sentence that is outside of, or departs from, the applicable Sentencing Guidelines
       range;

                 f. any sentence of imprisonment imposed by the Court will not allow for
       parole;

               g. the Court is not bound by any recommendation regarding the sentence
       to be imposed or by any calculation or estimation of the Sentencing Guidelines
       range offered by the parties or the United States Probation Office;

               h. the defendant may not withdraw this guilty plea solely because of the
       nature or length of the sentence imposed by the Court;

       7. Government=s Agreements. Based upon evidence in its possession at this time, the

United States Attorney=s Office for the Western District of Missouri, as part of this plea agreement,

agrees not to bring any additional charges against defendant for any federal criminal offenses

related to the charges to which defendant has pled herein for which it has venue and which arose

out of the defendant=s conduct described above.

       The defendant recognizes that the United States= agreement to forego prosecution of all of

the criminal offenses with which the defendant might be charged is based solely on the promises

made by the defendant in this agreement and the limitations set out herein. If the defendant

breaches this plea agreement, the United States retains the right to proceed with the original

charges and any other criminal violations established by the evidence. The defendant expressly

waives any right to challenge the initiation of the dismissed or additional charges against

defendant if defendant breaches this agreement. The defendant expressly waives any right to

assert a statute of limitations defense if the dismissed or additional charges are initiated against

defendant following a breach of this agreement. The defendant further understands and agrees




                                      6
          Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 6 of 15
that if the Government elects to file additional charges against defendant following breach of this

plea agreement, defendant will not be allowed to withdraw this guilty plea.

        The defendant understands that this plea agreement does not foreclose any prosecution for

an act of murder or attempted murder, an act or attempted act of physical or sexual violence, or a

conspiracy to commit any such acts of violence. Nor does it foreclose prosecution for any

criminal activity of which the United States Attorney for the Western District of Missouri has no

knowledge. The defendant understands and agrees that if the Government files additional

charges against defendant for one of these exceptions, defendant will not be allowed to withdraw

this guilty plea.

        8. Preparation of Presentence Report. The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the

offense conduct. This may include information concerning the background, character, and

conduct of the defendant, including the entirety of defendant=s criminal activities. The defendant

understands these disclosures are not limited to the counts to which defendant has pleaded guilty.

        The United States may respond to comments made or positions taken by the defendant,

defendant=s counsel or anyone on defendant=s behalf and to correct any misstatements or

inaccuracies. The United States further reserves its right to make any recommendations it deems

appropriate regarding the disposition of this case, subject only to any limitations set forth in this

plea agreement. The United States and the defendant expressly reserve the right to speak to the

Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal Rules of Criminal

Procedure.

        9. Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant=s plea of guilty and



                                       7
           Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 7 of 15
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to

their pre-plea agreement positions to the fullest extent possible. However, after the plea has been

formally accepted by the Court, the defendant may only withdraw these pleas of guilty if the Court

rejects the plea agreement or if the defendant can show a fair and just reason for requesting the

withdrawal. The defendant understands that if the Court accepts defendant=s pleas of guilty and

this plea agreement but subsequently imposes a sentence that is outside the defendant=s applicable

Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or

agree with, that will not permit defendant to withdraw these pleas of guilty.

       10. Agreed Guidelines Applications. With respect to the application of the Sentencing

Guidelines to this case, the parties stipulate and agree as follows:

              a. The Sentencing Guidelines do not bind the Court and are advisory in
       nature. The Court may impose a sentence that is either above or below the
       defendant=s applicable Guidelines range, provided the sentence imposed is not
       Aunreasonable@;

              b. The applicable Guidelines section for the offense of conviction is
       U.S.S.G. ' 2D1.1(4) and the parties agree it appears to call for a base level of 32;

               c. While the parties recognize there might be other specific aggravating or
       mitigating U.S.S.G. applications applicable to this defendant, the parties elect to address
       those at sentencing whether or not applied by the pre-sentence report or Court;

                d. The defendant appears to have admitted his guilt and accepted responsibility
       for his actions, and, by timely notifying authorities of the intention to enter a plea of guilty,
       has thereby permitted the Government to avoid preparing for trial and permitted the
       Government and the Court to allocate their resources efficiently. Therefore, the defendant
       appears entitled to a reduction for acceptance of responsibility pursuant to ' 3E1.1(b) of
       the Sentencing Guidelines and the amount of the reduction will depend on the final
       guideline level set by the Court at sentencing. Should the Court determine the final
       guideline level to be 16 or above, the reduction for acceptance would be three levels but if
       the final determined level is below a level 16, the reduction would be two levels. The
       Government, at the time of sentencing, will make a motion with the Court to that effect
       unless the defendant (1) fails to abide by all of the terms and conditions of this plea
       agreement and any pretrial release orders; or (2) attempts to withdraw this guilty plea; or
       (3) violates the law; or (4) otherwise engages in conduct inconsistent with an acceptance of



                                      8
          Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 8 of 15
       responsibility;

               e. There is no agreement between the parties regarding the defendant=s
       criminal history category. The parties agree that the Court will determine the
       applicable criminal history category after receipt of the presentence investigation
       report prepared by the United States Probation Office;

               f. The defendant understands that the estimate of the parties with respect
       to the Guidelines computation set forth in the subsections of this paragraph does not
       bind the Court or the United States Probation Office with respect to the appropriate
       Guidelines levels. Additionally, the failure of the Court to accept these
       stipulations will not, as outlined in Paragraph 9 of this plea agreement, provide the
       defendant with a basis to withdraw this plea of guilty;

              g. The United States agrees not to seek an upward departure from the
       ultimately determined Guideline range or a sentence outside the Guidelines range,
       and the defendant agrees to not seek a downward departure from the ultimately
       determined Guideline range or a sentence outside the Guidelines range. This
       agreement by the parties to not seek a sentence outside the ultimate Guideline range
       determined by the Court is not binding upon the Court or the United States
       Probation Office and the Court may impose any sentence authorized by law,
       including any sentence outside the applicable Guidelines range that is not
       Aunreasonable@;

               h. The defendant consents to judicial fact-finding by a preponderance of
       the evidence for all issues pertaining to the determination of the defendant=s
       sentence, including the determination of any mandatory minimum sentence
       (including the facts that support any specific offense characteristic or other
       enhancement or adjustment), and any legally authorized increase above the normal
       statutory maximum. The defendant waives any right to a jury determination
       beyond a reasonable doubt of all facts used to determine and enhance the sentence
       imposed, and waives any right to have those facts alleged in the indictment. The
       defendant also agrees that the Court, in finding the facts relevant to the imposition
       of sentence, may consider any reliable information, including hearsay; and

               i. The defendant understands and agrees that the factual admissions
       contained in Paragraph 3 or other places within this plea agreement, and any
       admissions made during the defendant=s plea colloquy, support the imposition of
       the agreed-upon Guidelines calculations contained in this agreement.

       11. Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its



                                      9
          Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 9 of 15
subsections. As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

       12. Change in Guidelines Prior to Sentencing. The defendant agrees that if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any

request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement

voidable by the United States at its option. If the Government exercises its option to void the plea

agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.

       13. Government=s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

              a. oppose or take issue with any position advanced by defendant, or
       anyone on behalf of the defendant, at the sentencing hearing which might be
       inconsistent with the provisions of this plea agreement;

                 b. comment on the evidence supporting the charges in the indictment;

               c. oppose any arguments and requests for relief the defendant, or anyone
       on defendant=s behalf, might advance on an authorized appeal from the sentences
       imposed and that the United States remains free on appeal or collateral proceedings
       to defend the legality and propriety of the sentence actually imposed, even if the
       Court chooses not to follow any recommendation made by the United States; and

                 d. oppose any post-conviction motions for reduction of sentence, or other
       relief.

        14. Waiver of Constitutional Rights. The defendant, by pleading guilty,

acknowledges that defendant has been advised of, understands, and knowingly and

voluntarily waives the following rights:

                 a. the right to plead not guilty and to persist in a plea of not guilty;

               b. the right to be presumed innocent until defendant=s guilt has been
       established beyond a reasonable doubt at trial;



                                     10
         Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 10 of 15
               c. the right to a jury trial, and at that trial, the right to the effective
       assistance of counsel;

               d. the right to confront and cross-examine the witnesses who testify
       against the defendant;

               e. the right to compel or subpoena witnesses to appear on defendant=s
       behalf; and

              f. the right to remain silent at trial, in which case that silence may not be
       used against defendant.

       The defendant understands that by pleading guilty, he waives or gives up those rights and

that there will be no trial. The defendant further understands that if he pleads guilty, the Court

may ask questions about the offense or offenses to which defendant pleaded guilty, and if the

defendant answers those questions under oath and in the presence of counsel, those answers may

later be used against defendant in a prosecution for perjury or making a false statement. The

defendant also understands he has pleaded guilty to a felony offense and, as a result, will lose the

right to possess a firearm or ammunition and might be deprived of other rights, such as the right to

vote or register to vote, hold public office, or serve on a jury.

       15. Waiver of Appellate and Post-Conviction Rights.

              a. The defendant acknowledges, understands and agrees that by his
       unconditional plea of guilty pursuant to this plea agreement she waives the right to
       appeal or collaterally attack a finding of guilt following the acceptance of this plea
       agreement, except on grounds of (1) ineffective assistance of counsel; or (2)
       prosecutorial misconduct.

               b. The defendant expressly waives the right to appeal any sentence,
       directly or collaterally, on any ground except claims of (1) ineffective assistance of
       counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An Aillegal
       sentence@ includes a sentence imposed in excess of the statutory maximum, but
       does not include less serious sentencing errors, such as a misapplication of the
       Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
       sentence. However, if the United States exercises its right to appeal the sentence
       imposed as authorized by 18 U.S.C. ' 3742(b), the defendant is released from this



                                     11
         Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 11 of 15
       waiver and may, as part of the Government=s appeal, cross-appeal the sentence as
       authorized by 18 U.S.C. ' 3742(a) with respect to any issues that have not been
       stipulated to or agreed upon in this agreement.

       16. Financial Obligations.

       By entering into this plea agreement, the defendant states an understanding of and agrees to

the following financial obligations:

              a. The United States may use the Federal Debt Collection Procedures Act
       and any other remedies provided by law to enforce any restitution order that may be
       entered as part of the sentence in this case and to collect any fine or costs.

                b. The defendant will fully and truthfully disclose all assets and property
       in which defendant has any interest, or over which the defendant exercises control
       directly or indirectly, including assets and property held by a spouse, nominee or
       other third party. The defendant's disclosure obligations are ongoing, and are in
       force from the execution of this agreement until the defendant has satisfied the
       restitution or fine or costs order in full.

               c. Within 10 days of the execution of this plea agreement, at the request of
       the USAO, the defendant agrees to execute and submit (1) a Tax Information
       Authorization form; (2) an Authorization to Release Information; (3) a completed
       financial disclosure statement; and (4) copies of financial information that the
       defendant submits to the U.S. Probation Office. The defendant understands that
       compliance with these requests will be taken into account when the United States
       makes a recommendation to the Court regarding the defendant's acceptance of
       responsibility.

               d. At the request of the USAO, the defendant agrees to undergo any
       polygraph examination the United States might choose to administer concerning
       the identification and recovery of substitute assets, restitution, fines, or costs.

               e. The defendant hereby authorizes the USAO to obtain a credit report
       pertaining to defendant to assist the USAO in evaluating the defendant=s ability to
       satisfy any financial obligations imposed as part of the sentence.

               f. The defendant understands that a Special Assessment will be imposed as
       part of the sentence in this case. The defendant promises to pay the Special
       Assessment of $100.00 by submitting a satisfactory form of payment to the Clerk
       of the Court prior to appearing for the sentencing proceeding in this case. The
       defendant agrees to provide the Clerk=s receipt as evidence of fulfillment of this
       obligation at the time of sentencing.




                                     12
         Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 12 of 15
               g. The defendant certifies that no transfer of assets or property has been
       made for the purpose of (1) evading financial obligations created by this
       Agreement; (2) evading obligations that may be imposed by the Court; nor (3)
       hindering efforts of the USAO to enforce such financial obligations. Moreover,
       the defendant promises that no such transfers will be made in the future.

               h. In the event the United States learns of any misrepresentation in the
       financial disclosure statement, or of any asset in which the defendant had an
       interest at the time of this plea agreement that is not disclosed in the financial
       disclosure statement, and in the event such misrepresentation or nondisclosure
       changes the estimated net worth of the defendant by ten thousand dollars
       ($10,000.00) or more, the United States may at its option: (1) choose to be relieved
       of its obligations under this plea agreement; or (2) let the plea agreement stand,
       collect the full forfeiture, restitution, and fines imposed by any criminal or civil
       judgment, and also collect 100% (one hundred percent) of the value of any
       previously undisclosed assets. The defendant agrees not to contest any collection
       of such assets. In the event the United States opts to be relieved of its obligations
       under this plea agreement, the defendant's previously entered pleas of guilty shall
       remain in effect and cannot be withdrawn.

       17. Waiver of FOIA Request. The defendant waives any and all rights,

whether asserted directly or by a representative, to request or receive from any department

or agency of the United States any records pertaining to the investigation or prosecution of

this case including, without limitation, any records that may be sought under the Freedom

of Information Act, 5 U.S.C. ' 552, or the Privacy Act of 1974, 5 U.S.C. ' 552a.

       18. Waiver of Claim for Attorney=s Fees. The defendant waives any and all claims

under the Hyde Amendment, 18 U.S.C. ' 3006A, for attorney=s fees and other litigation expenses

arising out of the investigation or prosecution of this matter.

       19. Remand Into Custody After Plea. The defendant understands that, pursuant to 18

U.S.C. § 3143(a), the crime to which he is pleading is an offense for which the Court is required to

detain the defendant after he pleads guilty.

       20. Defendant=s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing



                                     13
         Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 13 of 15
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the

defendant provides information to the Probation Office or the Court that is intentionally

misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States

will be released from its obligations under this agreement. The defendant, however, will remain

bound by the terms of the agreement, and will not be allowed to withdraw this plea of guilty.

       The defendant also understands and agrees that in the event this plea agreement is violated,

all statements made by the defendant to law enforcement agents subsequent to the execution of this

plea agreement, any testimony given by defendant before a grand jury or any tribunal or any leads

from such statements or testimony shall be admissible against defendant in any and all criminal

proceedings. The defendant waives any and all rights under the United States Constitution, any

statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of

Evidence, or any other federal rule that pertains to the admissibility of any statements made by

defendant subsequent to this plea agreement.

       21. Defendant=s Representations. The defendant acknowledges that he has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and

approval of counsel. The defendant acknowledges that he is satisfied with the assistance of

counsel, and that counsel has fully advised him of his rights and obligations in connection with this

plea agreement. The defendant further acknowledges that no threats or promises, other than the

promises contained in this plea agreement, have been made by the United States, the Court, his

attorneys or any other party to induce him to enter this plea of guilty.

       22. No Undisclosed Terms. The United States and the defendant acknowledge and

agree that the above-stated terms and conditions, together with any written supplemental

agreement that might be presented to the Court in camera, constitute the entire plea agreement



                                     14
         Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 14 of 15
between the parties, and that any other terms and conditions not expressly set forth in this

agreement or any written supplemental agreement do not constitute any part of the parties=

agreement and will not be enforceable against either party.

         23. Standard of Interpretation. The parties agree that the constitutional implications

inherent in plea agreements shall determine the interpretation and nature of the terms of this

agreement.

                                              Tammy Dickinson
                                              United States Attorney

         08/28/2013                           /s/ Charles E. Ambrose, Jr.
Dated:
                                              Charles E. Ambrose, Jr.
                                              Assistant United States Attorney

       I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the indictment. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines and any statutory
minimums. I have read this plea agreement and carefully reviewed every part of it with my
attorney. I understand this plea agreement and I voluntarily agree to it.

          08/28/2013                          /s/ Charles F. Miller, Jr.
Dated:
                                              Charles F. Miller, Jr.
                                              Defendant

        I am defendant MARK OWEN’s attorney. I have fully explained his rights with respect to
the offenses charged in the indictment. Further, I have reviewed with the defendant the
provisions of the Sentencing Guidelines and statutory minimum sentences which might apply in
this case. I have carefully reviewed every part of this plea agreement with the defendant. To my
knowledge and belief, the defendant’s decision to enter into this plea agreement is an informed and
voluntary one.

         08/28/2013                           /s/ Stephen C. Moss
Dated:
                                              Stephen C. Moss
                                              Attorney for Defendant




                                      15
          Case 4:12-cr-00182-BP Document 59 Filed 10/18/13 Page 15 of 15
